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The Offense Conduct

Information pertaining to the offense was provided by the Assistant U.S. Attorney; from
Federal Bureau of Investigation (FBI) records; from HMI records; from statements of Mr.
Alcers and his attorney; and from statements of Mr. Grimm and his attorney.

Jerry Akers and Kevin Grimm were longtime friends who devised and executed a scheme
to defraud HMI of money. They used the U.S. mail and e-mail in furtherance of the
scheme.

Mr. Akers and Mr. Grimm are electrical engineers by training and experience HMI
employed Mr. Akers, and Mr. Grimm previously worked there as an outside vendor.

In 20]0, Mr. Akers suggested Mr. Grimm create a new company that would ostensibly
provide natural gas ordering and transportation services to HMI. In response, Mr. Grimm
created an entity called KJ Gas Transportation, LLC (KJ Gas). Mr. Grimm established
this company even though he had no experience arranging and transporting natural gas or
any technical or logistical ability to provide such services. Mr. Akers set up a vendor
account at I-[MI for KJ Gas as a means for Mr. Grimm to bill HMI for natural gas
services it never provided.

After setting up vendor documentation at HMI, Mr. Akers told Mr. Grimm what to
charge the company each month and how to configure the invoices even though KJ Gas
provided no services.

Mr. Akers and Mr. Grimm communicated by e-mail using
ierrv akers@herrnanmiller.com and kevingrimm@altelco.net. Using data supplied by
Mr. Akers via e-mail, Mr. Grimm created monthly invoices on a computer in his
residence and e-mailed H'MI the invoices requesting payment HMI paid KJ Gas on the
fraudulent invoices by sending checks through the U.S. mail to Mr. Grimm’s home. Mr.
Grimm did not provide services or gas to I-IMI. In fact, another legitimate company was
providing natural gas to HMI, and Mr. Akers was doing whatever work was necessary to
receive the gas deliveries as an employee of HMI.

In 2015, after an internal audit, HMI discovered KJ Gas was improperly billing HMI for
Michigan sales tax, “overcharging” HMI by nearly $100,000.00. Mr. Grimm charged
and collected, but never actually remitted any state sales tax to Michigan. To attempt to
fix the problem, Mr. Akers had Mr. Grimm “credit” HMI the overbilled amount on
several future invoices As a result, HMI paid KJ Gas no monies for a few months. KJ
Gas simply applied a fake credit to the false amount payable HMI eventually terminated
the KJ Gas contract in July 2015. HMI hired private investigators, Quest Consultants
Intemational, Ltd., to investigate KJ Gas.

On October 23, 2015, investigators interviewed Mr. Akcrs about his dealings with KJ
Gas and Mr. Grimm. Mr. Akers admitted devising the fraudulent scheme and executing
it with Mr. Grimm. Mr. Akers provided the following written statement with the
assistance of investigators Mr. Grimm, through his attorney, disputes some of the

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providing these services to HMI, I provided all of the data that KJ
Gas needed to invoice HMI on a monthly basis.

Both Kevin Grimm and l knew that the billing and the subsequent
payments from HMI were fraudulent During the five years of KJ
Gas’ contract with HMI, l received between $30,000 and forty
thousand dollars from Grimm. I also received close to $40,000.00
from Grimm for the purchase of a pontoon boat. One of the
motivators f`or helping Kevin Grim was the hope that l would be
able to acquire his company after he retired since he was 10 years
older than l was.

I now realize that helping Kevin Grimm in his business ventures
was a bad idea and I regret becoming invoived.

After Mr. Akers’ interview, investigators visited Mr. Grimm at his residence to inquire
about KJ Gas; however, he would not discuss the contract with HMI but volunteered that
it involved the transportation of gas through pipelines by KJ Gas. When the discussion
turned to allegations of fraud, Mr. Grimm asked investigators to leave his property.

On November 16, 2015, Mr. Akers, represented by counsel, participated in a proffer-
protected interview with the Assistant U.S. Attomey and the FBI. Mr. Akers confirmed
statements he previously made to private investigators He added energy usage was based
on open market pricing and was just like a stock portfolio and changed every day. One
would mix and match the energy needs on a daily basis, and each building (site) had a
different consumption rate which was independent of the outside weather. HMI’s policy
was to have multiple bids, but the gas contract Was a little different because it involved a
minority company. Mr. Akers said senior bonu ` t ount f monc
spent on minority coMs. The gas companies were to provide daily nominating supply
and balancing sewices.Fe explained, the gas company would tell the pipelme company
the needs required for HMI at each site. A company would often buy their utility needs
through a gas marketer. He conducted the analysis initially with the assistance of HMI’s
purchasing agent Mr. Akers stated he discovered the gas marketer was double
nominating in 2001 to 2002, and the analysis defaulted back to him (Akers).

Mr. Akers explained he got involved in the renewable energy “stuff” at HMI an thought
it would be to Mr. Grimm’s advantage to get involved in that line of business. . Akers
stated his boss did not know what he did or anything about renewable energy, and he was
slapped down for going around his boss. Mr. Akers said Mr. Grimm formed UP Energy
which was responsible for selling renew le energy credits. Mr. Akers said he approved
the contract between HMI and UP Energ§he did not indicate whether he did so with the
company’s permission). Mr. Akers said r. Grimm did not treat his customers well and
HMI ended the contract after two years. Mr. Akers reported he did not receive payment
for assisting Mr. Grimm, but he did receive a trip to Key West, Florida. After the
presentence report was disclosed, Mr. Grimm, through his attomey, said he formed UP
Energy at Mr. Akers’ suggestion. Mr. Grimm also denied gifting Mr. Akers a trip to Key
West.

 

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Mr. Akers said Mr. Grimm’s gas service company, KJ Gas, started approximately five
years ago and was started similar to UP Energy. Mr. Akers stated his boss told him not to
do the purchasing job anymore, but he thought it would good to have Mr. Grimm do the
gas analysis work. Mr. Akers had Mr. Grimm consult with HMI’s purchasing department
to get established as a vendor. Mr. Akers provided the details Mr. Grimm needed to get

started.

 

Mr. Akers admitted creating the invoices from information obtained from another
company. He sent the information to Mr. Grimm who then forwarded the information to
HMI’s accounts payable department Mr. Akers claimed HMI trusted other people, but
not their own to do the work. He stated he did not care what happened because he was
unhappy with Hl\/II.

Mr. Akers said he began receiving cash and “stuf`f” from Mr. Grimm. Mr. Akers said Mr.
Grimm purchased a boat, a Mini Cooper worth approximately 315,000.00, and a boat
dock for him. Mr. Grimm stored the boat at Halls Motor in Muskegon. He sent envelopes
containing at least $3,000.00 cash at least once per month, and sometimes more
frequently. Mr. Akers estimated receiving 5150,000.00 to $200,000.00 cash from Mr.
Grimm. Mr. Akers admitted using some of the money on prostitutes After the
presentence report was disclosed, Mr. Grimm, through his attomey, denied purchasing
the boat for Mr. Akers but admitted sending money at Mr. Akers’ rcquest.

Mr. Akers acknowledged KJ Gas was a fraudulent creation from the beginning He did
all of the work as an employee of HMI. He accessed the web portal on a daily basis and
emailed information to Mr. Grimm, who in turn emailed invoices for payment to HMI.

Mr. Akers stated Mr. Grimm suspected they were scamming HMI and specifically
questioned him about it a couple of times. After the presentence report was disclosed, Mr.
Grimm, through his attomey, denied asking if they were scamming but admitted
repeatedly asking whether the business was legitimate

On December 2, 2015, FBI agents executed a federal search warrant at Mr. Grimm’s
residence during which he admitted owning KJ Gas. He stated he was the only employee
and started the company because Mr. Akers said HMI could not transport its gas. Mr.
Grimm said KJ Gas was in the natural gas transport and distribution business. He said
Mr. Akers told him that HMI would take care of everything and that he (Grimm) would
be the face of the company. Mr. Grimm stated he kept asking Mr. Akers if the business
was legitimate Mr. Grimm said he copied the billing information received from Mr.
Akers into an invoice and sent it to HMI for payment. He stated, “I was paid over $]
million dollars for not doing anything.” He admitted “gifting” some of the money to Mr.
Akers. He also admitted “quit-claiming” his home to his wife after HMl investigators
questioned him about the fraud, Mr. Grimm claimed he was “willfully blind” to what Mr.
Akers was doing. Mr. Grimm cried and said, “lf someone else actually transported gas,
this was wrong.”

At the end of the interview, Mr. Grimm adopted and signed a handwritten statement
prepared by an FBI agent admitting, in part: “l did not feel this was a [sic] honest thing to

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Energy board and attended conferences Mr. Akers wanted the money to pay for hookers,
which was usually $3,000. Mr. Grimm recalled cashier‘s checks to Mr. Akers on a few
occasions for a pontoon boat, dock, and a vehicle for Mr. Akers’ son.

 

43. Mr. Grimm stated most of the money (90%) for Mr. Akers came out of the account
labeled “J's.” Mr. Grimm also thought he completed a Time of Death (TOD) statement
on other accounts listing Mr. Akers as the beneficiary. Mr. Grimm said he received an
Excel spreadsheet on a monthly basis containing usage figures from HMI, which could
have been sent by Mr. Akers. Mr. Grimm said he would take the detail from the
spreadsheet and create an invoice in PDF format. Hc would send the PDF file back to
HMI via email to get paid. Mr. Grimm estimated it took about ten minutes to create the
PDF file. Mr. Grimm said he received the monthly check from l-[Ml through the U.S.
Postal Servicc. He deposited the check into the KJ Gas account which would sit in the
account until the end of the year.

44. Mr. Grimm stated he sat on the money for a couple of months when the business first
started. He thought the checks would be smaller than what they were. He thought KJ Gas
Would be the replacement retirement that he lost in his divoree. He viewed the company
as retirement savings for himself. He thought he asked Mr. Akers if the business was
legitimate, but stated he asked if Mr. Akers was ok with HMI and at risk of losing his job.
Mr. Grimm said he was reassured everything was ok. Mr. Grimm was concerned for his
friend, who was a 50% partner. Mr. Grimm never called anyone else at HMI nor inquired
about the legitimacy of KJ Gas business.

l45. Mr. Grimm stated KJ Gas stopped doing business because HMI noticed they were paying
sales tax for a service. HMI completed an investigation and determined sales tax was not
supposed to be charged by KJ Gas for services performed Aftcr the sales tax was
refunded to HMI through credits on future invoices, HMl canceled their contract with KJ
Gas. Mr. Grimm said he collected sales tax from HMI and did not send any of the
collected sales tax to the State of Michigan. However, he paid Michigan and federal
income taxes on the money received from HMI. Mr. Grimm said the first time he heard
about KJ Gas being involved with fraud was when two investigators showed up at his
residence He said the investigators mentioned something about HMI and fraud. He said
he asked them to leave because he didn't know what fraud meant. He knew it was wrong,
but stated he had to look up the term in a dictionary before he understood what the term
meant. Mr. Grimm stated at no point did Mr. Akers ever tell him the transportation of
gas was a scam. Mr. Grimm said he would have stopped on the spot had Mr. Akers told
him. Mr. Grimm stated he never saw gas getting transported and did not see any tangible,
physical item for KJ Gas. He thought Mr. Akers negotiated something with HMI to
transport natural gas and he just trusted Mr. Akers.

46. Mr. Grimm stated when Mr. Akers showed up at his residence on November 19, 201 5, he
asked Mr. Akers if "we" transported gas. Mr. Grimm said Mr. Akers told him at that
time they did not. Mr. Grimm did not recall telling Mr. Akers not to discuss anything
over the telephone except during Mr. Akers’ November visit to Mr. Grimm’s residence.

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MR. CHAMBERLAIN: Thank you, your Honor,

 

We addressed this issue in our sentencing memorandum,
which I believe the Court's had an opportunity to review. I’ll
keep my comments brief.

We simply submit, your Honor, this is more in the
nature of afpartnership than any hierarchial organization, that
while Mr. Akers was the proverbial insider, he wasn't
necessarily in control. Mr. Grimm had other aspects of the
operation over which he had control, most notably the money.

We respectfully submit that under these circumstances, it
doesn’t apply.

THE COURT: All right. Thank you, sir.

As Mr. Chamberlain's already indicated, the Court's
had the benefit his sentencing memorandum and supplemental and
a motion for a variance, which is ECF Documents 22, 23, and
26. The government has filed a sentencing memorandum
addressing this issue also, which is ECF 21, and I have the
government’s motion, which is ECF 20.

Mr. O'Connor, on aggravating role, sir. Go ahead.

MR. O’CONNOR: Thank you, your Honor. I'll also rely
on that sentencing memorandum just referenced by the Court.

Very simply, I would state that Mr. Akers was the
organizer of this conspiracy, because Mr. Grimm pretty much did
nothing except turn the numbers around that he received from

Mr. Akers on that spreadsheet every month and turn it into an

 

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invoice and emailed that invoice back to Herman Miller. There

 

really was no other organizational activity or control by Mr.
Grimm. All of that is detailed in my memo that came from

Mr. Akers. It was Mr. Akers who designed the scheme, who had
Mr. Grimm submit the required paperwork to the company in order
to get him on the books as a vendor who was authorized to
perform services and bill the company. Everything was
controlled and managed through Mr. Akers. Mr. Grimm simply
invoiced the company and held onto the monies and distributed
the monies when Mr. Akers requested some payments. So for
those reasons, and all_the reasons in the memo, as well as the
exhibits that we attached demonstrating all of this organizing
activity by Mr. Akers, we respectfully request that the Court
find that he was an organizer under the guidelines.

Thank you.

THE COURT: All right. Thank you, sir.

In the Court's judgment, this case is controlled, at
least in significant measure, by United States vs. Tanner, at
837 F.3d 596, specifically at Page 603. The facts as laid out
in the presentence investigation report clearly indicate that
Mr. Akers invited Mr. Grimm into this fraud. It was Mr. Akers'
expertise in the subject matter that was critical to the
success of the scam until it was discovered, and the Court
notes Exhibits 1 through 5 attached to the government's brief

where it’s clear that this defendant played a key role in the

 

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0 Month after month, Defendant simply opened an e-mail from Akers containing gas
delivery numbers, converted the information into a KJ Gas Transportation invoice,
and e-mailed the invoice to HMI with the message: “Thanks for the work!”
(Exhibit l: Mar. 2, 2015 e-mail to HMI attaching invoice)

¢ Defendant even pocketed about $100,000 in “sales tax” he charged HMI instead of
paying those monies to the State of Michigan like a real business.

o When HMI representatives first inquired about his business and invoices,
Defendant would not discuss his business with them. When one ofthe investigators
used the word “fraud,” Defendant asked them to leave his property.

(R.28: PSR 1l1l24, 2'7, 29, 37)

Defendant appears to invoke the legal doctrine of “deliberate ignorance” to attempt to
minimize his role in the offense Defendant does not dispute that he is legally responsible for his
actions, but wants this Court to believe that he deliberately ignored the high probability that he
was executing a scheme to defraud HMI of money and closed his eyes to what was obvious See,

e.g., Global-Tech App!iances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2068-69 (2011) (williiil blindness

lis “well-established in criminal law” because defendants cannot “deliberately shield[] themselves

from clear evidence of critical facts that are stroneg suggested by the circumstances.”); United
States v. Mitchell, 681 F.3d 867, 876 (6th Cir. 2012) (cleliberate ignorance jury instruction, also
known as the “ostrich” instruction, is appropriate when defendant claims a lack of guilty
knowledge and the evidence support an inference of deliberate ignorance).

This Court should not believe that Jerry Akers was a criminal mastermind who initially
tricked Defendant into participating in the fraud, Defendant is not the gullible fool he attempts to

portray. He is highly educated and trained. (R.28: PSR 11198-100) He conceived of and operated

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a successful real energy consulting business, Power Systems Solutions, that performed real
consulting work. (Id., ‘|1104) Before that, he was employed as a senior sales engineer, including
at General Electric. (Id., 11105-106) Defendant knows how legitimate businesses operate and
knew that a gas transportation company working for a large manufacturer like HMI could not
generate $l .77 million in revenues with no cost of goods sold or other direct operating expenses
lt defies logic and common sense that a successful businessman like Defendant would believe that
he could run a natural gas ordering and distribution business with no employees, infrastructure, or
service-related expenses

Second, when Akers was confronted by HMI about the KJ Gas contract, Akers admitted
that it was a scam and told investigators that Defendant also knew that the KJ Gas invoices were
fraudulent “Both Kevin Grimm and I knew that the billing and the subsequent payments from
I-IMI were fraudulent.” (Id., 1[28 at 8) A]though the government does not dispute that Akers and
Def`endant may have initially discussed forming a legitimate business to provide real services to
HMI, any legitimacy in the venture disappeared when Grimm started billing HMl for services he
never performed, knew nothing about, and incurred no expenses to provide.

Third, Defendant’s claim that he does not fully understand the meaning of the word “fraud”
is a phony attempt to explain why he asked I-lMI investigators to leave his property when he was
first confronted about the K.l Gas invoices (Id., 1158 at ]6) Not only is such an assertion
implausible on its face given Defendant’s education and experience, the govemment found
evidence that Defendant fully understood and even used the word “fraud” in his personal life.
When a civil lawsuit was filed against him in 2014 by American Express Bank for failing to pay a
credit card charge, Defendant sought to dismiss the lawsuit by alleging that he was defrauded by

the business. Defendant wrote a letter stating that he was not responsible for a credit card charge

